Case 8:16-cv-00703-MSS-JSS Document 3 Filed 03/24/16 Page 1 of 3 PageID 46
  



                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION


 VIXICOM, LLC,


        Movant,

 vs.                                                CASE NO.: 16-CV-00703-MSS/JSS

 FOUR CORNERS DIRECT, INC.,

       Respondent.
 _____________________________________/

                          MOVANT VIXICOM, LLC’S MOTION
                TO REQUIRE COMPLETION OF FLORIDA RULE OF
        CIVIL PROCEDURE FORM 1.977(B), FACT INFORMATION SHEET

        Movant, Vixicom, LLC (“Vixicom”), moves the Court pursuant to Federal Rule of

 Civil Procedure 69 to require Respondent, Four Corners Direct, Inc. (“Four Corners”) to

 complete Florida Rule of Civil Procedure Form 1.977(b) and to provide the required

 documentation, and in support states as follows:

                                  I.     INTRODUCTION

        On March 14, 2016, Vixicom received an arbitration award in its favor. [ECF No. 1-

 4]. Vixicom has now filed a motion with this Court seeking confirmation of that award and

 entry of a judgment in its favor. [ECF No. 1]. In anticipation of that expected judgment,

 Vixicom moves the Court to require Four Corners to complete Florida Rule of Civil

 Procedure Form 1.977(b).




                                                                            19143909v1 0964351
Case 8:16-cv-00703-MSS-JSS Document 3 Filed 03/24/16 Page 2 of 3 PageID 47
  



                  II.       MEMORANDUM OF LAW AND ARGUMENT

        Federal Rule of Civil Procedure 69(a) provides that:

        (1) Money Judgment; Applicable Procedure. A money judgment is enforced
        by a writ of execution, unless the court directs otherwise. The procedure on
        execution--and in proceedings supplementary to and in aid of judgment or
        execution--must accord with the procedure of the state where the court is
        located, but a federal statute governs to the extent it applies.

        (2) Obtaining Discovery. In aid of the judgment or execution, the judgment
        creditor or a successor in interest whose interest appears of record may obtain
        discovery from any person--including the judgment debtor--as provided in
        these rules or by the procedure of the state where the court is located.

 Thus, Rule 69 authorizes Vixicom to obtain discovery and to execute its judgments by using

 any means available under Florida procedure. DiFrancesco v. Home Furniture Liquidators,

 Inc., No. 06-21709-CIV, 2009 WL 36550, at *2 (S.D. Fla. Jan. 6, 2009) (“Florida’s

 procedure in aid of execution governs the instant action.”) (citing Rule 69).

        Florida Rule of Civil Procedure 1.560(b) provides that:

        [T]he court, at the request of the judgment creditor, shall order the judgment
        debtor or debtors to complete form 1.977, including all required attachments,
        within 45 days of the order or such other reasonable itme as determined by the
        court. Failure to obey the order may be considered contempt of court.

 Federal courts are authorized under Federal Rule of Civil Procedure 69 to enforce Florida

 Rule of Civil Procedure 1.560(b). See Rodriguez v. Super Shine & Detailing, Inc., No. 09-

 23051-CIV, 2013 WL 4786596, at *3-*4 (S.D. Fla. Sept. 6, 2013) (ordering a judgment

 debtor to complete Form 1.977); see also Vixicom, LLC v. Saveology.com LLC, Case No. 13-

 CV-62150, ECF No. 60 (S.D. Fla. Aug. 8, 2014) (granting motion to require completion of

 fact information sheet).




                                                2
                                                                                 19143909v1 0964351
Case 8:16-cv-00703-MSS-JSS Document 3 Filed 03/24/16 Page 3 of 3 PageID 48
  



                                       III.    ARGUMENT

           There is no question Vixicom is (after it’s primary motion in this case is granted) a

 judgment creditor or that Florida’s procedure applies and authorizes the relief requested

 herein.    There is therefore no question that Vixicom is entitled to have Four Corners

 complete Form 1.977 and to provide the required documentation. Consequently, Vixicom

 respectfully requests that the Court order Four Corners to complete Form 1.977(b) (a copy of

 which is attached as Exhibit A) and to provide all required attachments to same within 45

 days.

                            IV.     RULE 3.01(g) CERTIFICATION

           The Undersigned notes that he is filing this motion, now so that it may be served with

 the primary motion in this case. In light of the withdrawal of counsel in the underlying

 arbitration, the Undersigned does not expect any counsel will appear, however, the

 Undersigned will attempt to confer with Respondent’s counsel, if any, or Respondent if none,

 after service and will file an updated conferral certificate at that time.

                                  CERTIFICATE OF SERVICE

           I hereby certify that this motion will be served with the underlying motion to confirm

 the arbitration award on Respondent through its registered agent of record.

           Respectfully submitted on March 24, 2016,
                                                         By: s/Daniel A. Krawiec
                                                         Daniel A. Krawiec
                                                         Florida Bar No. 59136
                                                         dkrawiec@hinshawlaw.com
                                                         Hinshaw & Culbertson LLP
                                                         One East Broward Blvd., Suite 1010
                                                         Fort Lauderdale, FL 33301
                                                         Telephone: 954-467-7900
                                                         Fax: 954-467-1024



                                                  3
                                                                                  19143909v1 0964351
